
76 Cal.Rptr.3d 171 (2008)
182 P.3d 512
PEOPLE
v.
McFEARSON (David).
No. S160601.
Supreme Court of California.
April 9, 2008.
Review granted/briefing deferred (8.512(d)(2) criminal case).
Respondent's petition for review is granted. Further action in this matter is deferred pending consideration and disposition of a related issue in People v. Gonzalez, S149898 (see Cal. Rules of Court, rule 8.512(d)(2)), or pending further order of the court. Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court. Appellant's petition for review is denied.
*172 GEORGE, C.J., and KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ., concur.
